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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
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                                 Richmond Division                        iU         MAR 20 2017
UNITED STATES OF AMERICA                 )                                      CLERK, U.S. DISTRICT COURT
                                                                                      RICHMOND, VA
                                         )
v.                                       )         Criminal No. 3:11CR214-HEH
                                         )
DAVID DARNELL LOWERY,                    )
                                         )
        Petitioner.                      )

                             MEMORANDUM OPINION
                           (Denying 28 U.S.C. § 2255 Motion)

        David Darnell Lowery, a Virginia inmate proceeding prose, submitted this motion

under 28 U.S.C. § 2255 to vacate, set asid~, or corroot his federal sentence("§ 2255

Motion," ECF No. 90). On October 20, 2016, the Government filed a Motion for Leave

to File Out of Time a Response to Defendant's Motion to Vacate Pursuant to 28 U.S.C.

§ 2255 ("Motion for Leave to File," ECF No. 97), as well as its Response (ECF No. 98).

Because Lowery is not prejudiced by the Government's late response, the Motion for

Leave to File (ECF No. 97) will be granted. In its Response, the Government asserts,

inter alia, that Lowery's§ 2255 Motion is barred by the statute oflimitations. (Gov't's

Resp. 3-6.) For the reasons set forth below, Lowery's§ 2255 Motion will be dismissed

as untimely.

                            I. PROCEDURAL HISTORY

        On August 16, 2011, a grand jury charged Lowery with one count of conspiracy to

obstruct, delay, and affect commerce by robbery, in violation of 18 U.S.C. § 1951(a)

(Count One), and one count of using, carrying, and brandishing a firearm during and in
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relation to a crime of violence, in violation of 18 U.S.C. § 924(c) (Count Two).

(Indictment 1-7, ECF No. 1.) On November 28, 2011, Lowery entered into a Plea

Agreement and pled guilty to Counts One and Two. (Plea Agreement~ 1, ECF No. 28.)

On February 27, 2012, the Court entered judgment against Lowery and sentenced him to

a total of294 months of imprisonment. (J. 2, ECF No. 63.) The Court sentenced Lowery

to 210 months on Count One and 84 months on Count Two, to be served consecutively..

(Id.) The Court also directed that Lowery's sentence "be served consecutively to the

sentence imposed by the Fredericksburg Circuit Court on August 17, 2011." (Id.)

Lowery did not appeal.

       Lowery filed the present§ 2255 Motion on July 7, 2016. 1 (§ 2255 Mot. 14.)2 In

his§ 2255 Motion, Lowery raises the following claims for relief:

       Claim One: "The Petitioner is actually innocent of his sentence in Count #2 of
                  Indictment, where he pled guilty to a count that charges multiple
                  [offenses]." (Id. at 4.)

       Claim Two: "Trial counsel was ineffective for failure to challenge the duplicity
                  in Count #2 of my Indictment." (Id. at 6.)




1 Lowery did not date his§ 2255 Motion.     Moreover, the return address on the envelope in which
the§ 2255 Motion was received indicates that an individual in Upper Marlboro, Maryland
mailed Lowery's§ 2255 Motion to the Court on Lowery's behalf. (§ 2255 Mot. 14.) The
envelope indicates that this individual mailed the§ 2255 Motion on July 7, 2016. Because
Lowery did not mail his§ 2255 Motion himself, he is not entitled to application of the mailbox
rule set forth in Houston v. Lack, 487 U.S. 266, 276 (1988). Nevertheless, because Lowery's §
2255 Motion is clearly untimely, the Court uses July 7, 2016 as the filing date.

2The Court employs the pagination assigned to Lowery's§ 2255 Motion by the CM/ECF
docketing system. The Court corrects the spelling and capitalization in quotations from
Lowery's§ 2255 Motion.


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                                      II. ANALYSIS

       Section 101 of the Antiterrorism and Effective Death Penalty Act ("AEDPA")

amended 28 U.S.C. § 2255 to establish a one-year period of limitation for the filing of a

§ 2255 Motion. Specifically, 28 U.S.C. § 2255(f) now reads:

       (f)    A 1-year period of limitation shall apply to a motion under this
              section. The limitation period shall run from the latest of-
              (1)    the date on which the judgment of conviction becomes
                     final;
              (2)    the date on which the impediment to making a motion
                     created by governmental action in violation of the
                     Constitution or laws of the United States is removed, if
                     the movant was prevented from making a motion by
                     such governmental action;
              (3)    the date on which the right asserted was initially
                     recognized by the Supreme Court, if that right has
                     been newly recognized by the Supreme Court and
                     made retroactively applicable to cases on collateral
                     review; or
              (4)    the date on which the facts supporting the claim or
                     claims presented could have been discovered through
                     the exercise of due diligence.

28 u.s.c. § 2255(f).

      A.     28 U.S.C. § 2255(f)(l)

      Because Lowery did not appeal, under 28 U'.S.C. § 2255(f)(l), his conviction

became final on Monday, March 12, 2012, the last date to file an appeaL ·See United

States v. Clayton, No. 3:07CR488, 2010 WL 4735762, at *3 (E.D. Va. Nov. 15, 2010)

(citing Arnette v. United States, Nos. 4:01CR16, 4:04CV122, 2005 WL 1026711, at *4

(E.D. Va. May 2, 2005)). Hence, Lowery had until Tuesday, March 12, 2013 to file any

motion under 28 U.S.C. § 2255. Because Lowery did not file his§ 2255 Motion until

July 7, 2016, the motion is untimely under 28 U.S.C. § 2255(f)(l).


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        B.       Actual Innocence

        In his§ 2255 Motion, Lowery asserts that "[t]he one year statute of [limitations]

does not apply in this case because the Petitioner is actually innocent of his sentence in

Count #2 of his indictment." (§ 2255 Mot. 12.) The Supreme Court has recognized that

a convincing claim of actual innocence of the crime of one's conviction may allow a

court to consider an otherwise time-barred claim. McQuiggin v. Perkins, 133 S. Ct. 1924,

1933-34 (2013). The Fourth Circuit, however, has concluded that "McQuiggin does not

apply to habeas claims based on actual innocence of a sentence." United States v. Jones,

758 F.3d 579, 587 (4th Cir. 2014), cert. denied, 135 S. Ct. 1467 (2015). Thus, Lowery

has failed to demonstrate any basis for excusing his failure to comply with the statute of

limitations. 3

                                    III.    CONCLUSION

       For the foregoing reasons, Lowery's§ 2255 Motion (ECF No. 90) will be denied.

The Government's Motion for Leave to File (ECF No. 97) will be granted. The action

will be dismissed as barred by the statute of limitations. A certificate of appealability

will be denied.

       An appropriate Order shall issue.


                                             HENRY E. HUDSON
                                             UNITED STATES DISTRICT JUDGE
Date:  *•""4. I'\ 201'1
Richmond, Virginia

3 Neither Lowery nor the record suggest a basis for a belated commencement of the limitation
period under 28 U.S.C. § 2255(f)(2)-(4), or for equitable tolling.



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